         Case 1:05-cr-01849-JCH      Document 522-1       Filed 06/13/06    Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,

vs.                                                 Criminal No. 05-1849 JH

DANA JARVIS,

                       Defendant.

                      ORDER CONTINUING SENTENCING HEARING

          This matter having come before the Court on the Motion of counsel for the Defendant,

Dana Jarvis, and the Court being fully advised of the circumstances, finds the motion is well

taken;

          IT IS HEREBY ORDERED THAT Defendant’s Motion for a continuance of the hearing

on the Government’s Motion for Order to Show Cause Why Protective Order Should Not Be

Vacated, currently set for 1:15 p.m. on Wednesday, June 14, 2006, be and hereby is VACATED

and RESET until further notice from the Court.



                                                   __________________________________
                                                   JUDITH C. HERRERA
                                                   U.S. DISTRICT COURT JUDGE
     Case 1:05-cr-01849-JCH        Document 522-1   Filed 06/13/06   Page 2 of 2




SUBMITTED BY:

Electronically filed 6/13/06
_________________________
Joe M. Romero, Jr.
Attorney for Defendant Jarvis
1905 Lomas Blvd. NW
Albuquerque, NM 87104
(505) 843-9776

APPROVED BY:

Telephonically Approved 6/13/06
Stephen R. Kotz
Assistant United States Attorney
P.O. Box 607
Albuquerque, NM 87103
(505) 346-7274, ext. 1464




                                           2
